Case 2:17-cv-01263-CCC-MAH Document 98 Filed 03/03/23 Page 1 of 1 PageID: 1028




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                                           March 3, 2023

 Via ECF
 The Honorable Michael A. Hammer,
 United States Magistrate Judge
 Martin Luther King, Jr. Federal Building
 And Courthouse, 2nd Floor
 50 Walnut Street
 Newark, New Jersey 07102

        Re:       Bianchi v. Samsung Electronics America, Inc. et al.
                  Civil Action No.: 2:17-cv-01263-CCC-MAM

 Dear Judge Hammer:

         This firm, along with Squire Patton Boggs (US) LLP, represents defendant, Samsung
 Electronics America, Inc. (“SEA”), in the above-referenced matter. As per Your Honor’s direction
 in the Order of January 10, 2023, we are providing a joint status report.

        The parties are still in the final stage of implementing a novel and complex Settlement
 Agreement reached with the assistance of the Honorable Dennis M. Cavanaugh, U.S.D.J. (Ret.).
 Further progress has been made since our last joint status report, but we still need some additional
 time to complete implementation of the settlement outreach terms. We therefore respectfully
 request that Your Honor allow us to report back in May 2023.


  Respectfully,                                  Respectfully,

  /s/ James J. O’Hara________________            __/s/ Jonathan Shub______________________
  JAMES J. OHARA
  On behalf of Defendant,                        On behalf of Plaintiffs
  Samsung Electronics America, Inc.

 Cc:    Honorable Dennis M. Cavanaugh, U.S.D.J. (Ret.)
